 1

 2

 3

 4

 5

 6

 7

 8                       IN THE UNITED STATES BANKRUPTCY COURT FOR

 9                                   THE DISTRICT OF ARIZONA

10   In Re:                                           CHAPTER 13
11
     ROBERT LANCASTER WILLIAMSON,                     Case No: 2:16-bk-00788
12   III,
13                           Debtor.        Adversary Case No.: 2:23-bk-00214
14
     ______________________________________
                                            JUDGMENT
15   ROBERT LANCASTER WILLIAMSON,
     III,
16
                      Plaintiff.
17   vs.

18   COHEN-JOHNSON, LLC.,
19
                           Defendant.
20

21            This matter comes before the Court on Plaintiffs Williamson’s Application for Entry of
22
     Default filed on February 17, 2024. (“Application”) [Doc. 7]. Upon submission of Plaintiff’s
23
     Application, the Clerk entered Default, as Defendant had failed to answer, although duly served
24
     with the Summons and Complaint. [Doc. 8). Such filings are incorporated herein by reference
25

26   for all purposes.

27            The Court, having reviewed the record in the above action, and considered all matters
28
     set forth through Plaintiff’s Amended Complaint (“Complaint”), and the record as a whole,
29
     makes the following orders and findings:
30

31
                                            JUDGMENT - PAGE 1
 1

 2
               IT IS ORDERED as follows:
 3
               1.    That the Plaintiff’s request for Entry of Default Judgment Against Defendant,
 4

 5   Johnson & Cohen, LLC is GRANTED.

 6        2.        That under FED. R. CIV. P. 55(b), DEFAULT JUDGMENT IS ENTERED in
 7
     favor of the Plaintiffs, Robert Williamson, III. and Catherine Williamson against Defendant,
 8
     Cohen-Johnson, LLC, as to all matters pled within Plaintiff’s Amended Complaint, duly
 9

10
     improperly served upon said Defendant.

11        3.        The Court has taken all factual allegations made through paragraphs 1 through
12
     24 of the Amended Complaint [Doc. 3] as proven and established, such that Judgment is
13
     rendered hereby in favor of Plaintiff as to the allegations made. Given such findings of fact
14
     and conclusions of law, the Court renders judgment as to the following:
15

16        a.        The Deed of Trust, Assignment of Rents and Request for Notice filed in Dallas

17   County, Texas, attempting to present record encumbrance to the real property condominium
18
     through Dallas County APN No. 00-00079-989-007-0000, ELECTRONICALLY RECORDED
19
     by Plaintiff under recorder no. 201400256418 on 10/07/2014 at 11:45:33 AM is void as a
20
     matter of law, and does not present a lawful lien against the subject property described. This
21

22   Judgment shall serve as muniment of title in that such Deed of Trust Instrument filed by

23   Plaintiff is VOID and REMOVED as any purported encumbrance against said property for the
24
     reasons set forth in Plaintiff’s Amended Complaint.
25
          b.        The Court further finds that Plaintiff’s allegations in his Complaint regarding the
26

27
     absence of his spouse’s signature to the purported Quitclaim Deed, which was not recorded,

28   according to Plaintiff’s Complaint is void for the reasons alleged in the Amended Complaint.
29   Plaintiff alleged that such Quitclaim Deed was never recorded. Judgment is hereby rendered
30

31
                                            JUDGMENT - PAGE 2
 1   that such Quitclaim Deed was ineffective to transfer title for the reasons listed in the Amended
 2
     Complaint.
 3
            4.     This Judgment may serve as evidence that the transactions described in the
 4

 5
     Amended Complaint do not create a lawful Deed or Deed of Trust as against the following real

 6   property, and that the documents attached to Plaintiff’s Amended Complaint, and incorporated
 7
     herein by reference, and specifically, the purported Deed of Trust recorded in Dallas County,
 8
     Texas, referenced as APN No. 00-00079-989-007-0000, ELECTRONICALLY RECORDED
 9
     by Plaintiff under recorder no. 201400256418 on 10/07/2014 at 11:45:33 AM, have no lawful
10

11   effect to present any lien or encumbrance against the subject property, identified within the

12   Amended Complaint, as set forth below:
13
            PRESTON CONTRY CLUB CONDOS BLK A/8219 ACS 11.051 BLDG E UNIT 1129
14          CE% 0.23354 VOL2004119/10129 DD10272002 CO-DC 8219 00A 00000 3DA8219
            00A
15
             APN No. 00-00079-989-007-0000
16

17          Commonly known as 5829 Copperwood Lane #1129, Dallas, Texas 75248-3510
            (the "Property")
18

19
     Such attempted conveyances are ineffective to present any lawful lien or encumbrance against
20
     the subject property for the reasons alleged in Plaintiff’s Amended Complaint.
21

22
           SO ORDERED UPON THE DATE AND SIGNATURE AS SET FORTH ABOVE
23
     _____________________________________________________________________________
24

25

26

27

28

29

30

31
                                           JUDGMENT - PAGE 3
